                  Case 23-11240-TMH         Doc 3    Filed 08/25/23    Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                            )
 In re:                                                     )   Chapter 11
                                                            )
 PHOENIX 1040 LLC,                                          )   Case No. 23-11239 (TMH)
                                                            )
                             Debtor.                        )
                                                            )
 Tax I.D. No. XX-XXXXXXX                                    )
                                                            )
 In re:                                                     )   Chapter 11
                                                            )
 AMERIFIRST FINANCIAL, INC.,                                )   Case No. 23-11240 (TMH)
                                                            )
                             Debtor.                        )
                                                            )
 Tax I.D. No. XX-XXXXXXX                                    )

                               NOTICE OF STATUS CONFERENCE


    THE STATUS CONFERENCE WILL BE CONDUCTED VIA ZOOM. ANY PARTY
         WISHING TO PARTICIPATE MUST REGISTER THROUGH ZOOM.

              When registering, please copy and paste the below link to your browser.
                          All individuals participating must register by
                       August 28, 2023 at 4:00 p.m. (ET) at the link below.

                                           Registration Link:

                     https://protect-us.mimecast.com/s/kwVHC1w9PwfE3jZ5fLckaD

                         After registering, you will receive a confirmation email
                                 containing information about joining.

          PLEASE NOTE: COURTCALL WILL NOT BE USED FOR THIS HEARING.



                 PLEASE TAKE NOTICE that a status conference has been scheduled for

August 29, 2023 at 1:00 p.m. prevailing Eastern Time before the Honorable Thomas M.




DOCS_DE:244418.1 70786/001
                  Case 23-11240-TMH     Doc 3       Filed 08/25/23   Page 2 of 2




Horan, United States Bankruptcy Court Judge at the United States Bankruptcy Court for the

District of Delaware, 824 Market Street, 3rd Floor, Wilmington, Delaware 19801.


 Dated: August 25, 2023               PACHULSKI STANG ZIEHL & JONES LLP

                                      /s/ Laura Davis Jones
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                                      Proposed Counsel to the Debtors and Debtors in
                                      Possession




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